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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 QUANTUM TECHNOLOGY                             :
 INNOVATIONS, LLC,                              :
                                                :
                       Plaintiff,               :                C.A. 22-584-RGA
                                                :
        v.                                      :
                                                :          JURY TRIAL DEMANDED
 PLEX, INC.,                                    :
                                                :
                       Defendant.               :

             NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41

       Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i), Plaintiff Quantum

Technology Innovations, LLC hereby respectfully gives notice that this action is voluntarily

dismissed with prejudice. Defendant Plex, Inc. has not served an answer or motion for summary

judgment or otherwise responded to the Complaint (D.I. 1) in this action.

 Dated: February 15, 2023                      PHILLIPS, MCLAUGHLIN & HALL, P.A.

                                               /s/ John C. Phillips, Jr.
                                               John C. Phillips, Jr. (#110)
                                               David A. Bilson (#4986)
                                               1200 North Broom Street
                                               Wilmington, Delaware 19806
                                               (302) 655-4200
                                               jcp@pmhdelaw.com
                                               dab@pmhdelaw.com

                                               Of Counsel:
                                               Shea N. Palavan
                                               PALAVAN & MOORE, PLLC
                                               5353 West Alabama Street, Suite 303
                                               Houston, Texas 77056
                                               4590 MacArthur Boulevard, Suite 500
                                               Newport Beach, California 92660
                                               Telephone: (832) 800-4133
                                               Facsimile: (855) PALAVAN (725-2826)
                                               shea@houstonip.com

                                               Attorneys for Plaintiff,
                                               Quantum Technology Innovations, LLC
